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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                 LUBBOCK DIVISION


FORD MOTOR CREDIT COMPANY LLC,                   )
                                                 )
                      Plaintiff,                 )
                                                 )
V.                                               )
                                                 )
BART REAGOR and RICK DYKES,                      )
                                                 )
                      Defendants.                )   Civil Action No. 5: 18-CV-186-C


                                    CONSENT JUDGMENT

       This matter comes before the Court on the First Amended Complaint filed by Plaintiff,

Ford Motor Credit Company LLC ("Ford Credit"), against Defendants Bart Reagor and Rick

Dykes, on August 17, 2018, and the Joint Motion for Entry of Consent Judgment filed by Ford

Credit and Defendant Rick Dykes. Based upon the request of the Parties, and for good cause

shown, the Court hereby finds, orders, adjudges, and decrees as follows:

       1. This Court has jurisdiction over the Parties and subject matter of this action.

       2. The Plaintiff, Ford Credit, is entitled to a judgment against the Defendant, Rick Dykes,

in the principal amount of FIFTY EIGHT MILLION SEVEN HUNDRED TWELVE

THOUSAND ($58,712,000.00) DOLLARS.

       IT IS , THEREFORE, ORDERED, ADJUDGED AND DECREED that judgment is

rendered in favor of Ford Credit and against Defendant Rick Dykes in the amount of




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$58,712,000.00, together with post-judgment interest at the rate of 2.41 percent per annum,

pursuant to 28 U.S.C. ~ 61(a) , from the date of entry of this judgment until paid.

       Dated this _]_ day of April, 2019.




APPROVED AS TO FORM:

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